Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22   Page 1 of 8 PageID 2682




                      EXHIBIT 1
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22              Page 2 of 8 PageID 2683



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

  UNITED STATES SECURITIES                §
  AND EXCHANGE COMMISSION,                §
                                          §
               Plaintiff,                 §
                                          §
                        v.                §
                                          §
  THE HEARTLAND GROUP VENTURES,           §
  LLC; HEARTLAND PRODUCTION AND           §
  RECOVERY LLC; HEARTLAND                 §
  PRODUCTION AND RECOVERY FUND LLC; §
  HEARTLAND PRODUCTION AND                §
  RECOVERY FUND II LLC; THE               §
  HEARTLAND GROUP FUND III, LLC;          §
  HEARTLAND DRILLING FUND I, LP;          §
  CARSON OIL FIELD DEVELOPMENT FUND §
  II, LP; ALTERNATIVE OFFICE SOLUTIONS, §
  LLC; ARCOOIL CORP.; BARRON              §
  PETROLEUM LLC; JAMES IKEY; JOHN         §                  No. 4:21-cv-1310
  MURATORE; THOMAS BRAD PEARSEY;          §
  MANJIT SINGH (AKA ROGER) SAHOTA; and §                     Hon. Reed O’Connor
  RUSTIN BRUNSON,                         §
                                          §
               Defendants,                §
                                          §
                        and               §
                                          §
  DODSON PRAIRIE OIL & GAS LLC, et al.    §
                                          §
               Relief Defendants.         §
  _______________________________________ §

                    JUDGMENT AS TO DEFENDANT JAMES IKEY

        The Securities and Exchange Commission having filed a Complaint and Defendant

 James Ikey having entered a general appearance; consented to the Court’s jurisdiction over

 Defendant and the subject matter of this action; consented to entry of this Judgment without

 admitting or denying the allegations of the Complaint (except as to jurisdiction and except


                                               1
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                Page 3 of 8 PageID 2684



 as otherwise provided herein in paragraph VII); waived findings of fact and conclusions of

 law; and waived any right to appeal from this Judgment:

                                                I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of

 the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule

 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

 instrumentality of interstate commerce, or of the mails, or of any facility of any national

 securities exchange, in connection with the purchase or sale of any security:

        (a)    to employ any device, scheme, or artifice to defraud;

        (b)    to make any untrue statement of a material fact or to omit to state a material

               fact necessary in order to make the statements made, in the light of the

               circumstances under which they were made, not misleading; or

        (c)    to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

 following who receive actual notice of this Judgment by personal service or otherwise:

 (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in

 active concert or participation with Defendant or with anyone described in (a).

                                               II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 Defendant is permanently restrained and enjoined from violating Section 17(a) of the



                                                2
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                  Page 4 of 8 PageID 2685



 Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any

 security by the use of any means or instruments of transportation or communication in

 interstate commerce or by use of the mails, directly or indirectly:

        (a)    to employ any device, scheme, or artifice to defraud;

        (b)    to obtain money or property by means of any untrue statement of a material

               fact or any omission of a material fact necessary in order to make the

               statements made, in light of the circumstances under which they were made,

               not misleading; or

        (c)    to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

 following who receive actual notice of this Judgment by personal service or otherwise:

 (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in

 active concert or participation with Defendant or with anyone described in (a).

                                               III.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 Defendant is permanently restrained and enjoined from violating Section 5 of the Securities

 Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any applicable exemption:

        (a)    Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate

               commerce or of the mails to sell such security through the use or medium of

               any prospectus or otherwise;



                                                3
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                Page 5 of 8 PageID 2686



        (b)    Unless a registration statement is in effect as to a security, carrying or causing

               to be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or

        (c)    Making use of any means or instruments of transportation or communication

               in interstate commerce or of the mails to offer to sell or offer to buy through

               the use or medium of any prospectus or otherwise any security, unless a

               registration statement has been filed with the Commission as to such security,

               or while the registration statement is the subject of a refusal order or stop

               order or (prior to the effective date of the registration statement) any public

               proceeding or examination under Section 8 of the Securities Act [15 U.S.C.

               § 77h].

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

 following who receive actual notice of this Judgment by personal service or otherwise:

 (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in

 active concert or participation with Defendant or with anyone described in (a).

                                               IV.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Defendant is

 permanently restrained and enjoined from directly or indirectly, including, but not limited

 to, through any entity owned or controlled by Defendant, participating in the issuance,

 purchase, offer, or sale of any security related to the production, exploration, extraction,



                                                4
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                 Page 6 of 8 PageID 2687



 purchase, or sale of oil or gas, provided, however, that such injunction shall not prevent

 Defendant from purchasing or selling securities listed on a national securities exchange for

 Defendant’s own, personal accounts.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

 following who receive actual notice of this Judgment by personal service or otherwise:

 (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in

 active concert or participation with Defendant or with anyone described in (a).

                                                V.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to

 Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the

 Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited from acting as an officer or

 director of any issuer that has a class of securities registered pursuant to Section 12 of the

 Exchange Act [15 U.S.C. § 78l] or that is required to file reports pursuant to Section 15(d) of

 the Exchange Act [15 U.S.C. § 78o(d)].

                                                VI.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 Defendant shall pay disgorgement of ill-gotten gains, prejudgment interest thereon, and a

 civil penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section

 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court shall determine the

 amounts of the disgorgement and civil penalty upon motion of the Commission.

 Prejudgment interest shall be calculated from October 31, 2018, based on the rate of interest

 used by the Internal Revenue Service for the underpayment of federal income tax as set



                                                 5
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                Page 7 of 8 PageID 2688



 forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for

 disgorgement and/or civil penalties, and at any hearing held on such a motion:

 (a) Defendant will be precluded from arguing that he did not violate the federal securities

 laws as alleged in the Complaint; (b) Defendant may not challenge the validity of the

 Consent or this Judgment; (c) solely for the purposes of such motion, the allegations of the

 Complaint shall be accepted as and deemed true by the Court; and (d) the Court may

 determine the issues raised in the motion on the basis of affidavits, declarations, excerpts of

 sworn deposition or investigative testimony, and documentary evidence, without regard to

 the standards for summary judgment contained in Rule 56(c) of the Federal Rules of Civil

 Procedure. In connection with the Commission’s motion for disgorgement and/or civil

 penalties, the parties may take discovery, including discovery from appropriate non-parties.

                                               VII.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

 purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11

 U.S.C. § 523, the allegations in the Complaint are true and admitted by Defendant, and

 further, any debt for disgorgement, prejudgment interest, civil penalty or other amounts due

 by Defendant under this Judgment or any other judgment, order, consent order, decree or

 settlement agreement entered in connection with this proceeding, is a debt for the violation

 by Defendant of the federal securities laws or any regulation or order issued under such

 laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                              VIII.




                                                6
Case 4:21-cv-01310-O-BP Document 144-1 Filed 02/25/22                 Page 8 of 8 PageID 2689



           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

 shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

 Judgment.

                                                IX.

           There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of

 Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and without further

 notice.


 Dated: ______________, _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




                                                 7
